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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 Jane Doe 1, individually and on behalf of
 all others similarly situated,
                                                                 Case No. 1:22-CV-10019 (JSR)
    Plaintiff,

        v.

 JPMorgan Chase Bank, N.A.,

    Defendant.



I, Bradley J. Edwards, hereby declare as follows:

       1.        I am a partner at Edwards Pottinger, LLC (“EPLLC”), co-counsel to Plaintiffs and

putative class representative Jane Doe 1. I am an attorney at law duly licensed to practice before

the courts of the state of New York and numerous federal courts. I make this declaration in support

of Plaintiffs’ Motion for Class Certification filed on April 28, 2023. I have knowledge of the facts

stated herein from my personal knowledge and information gathered from within my firm and, if

called as a witness, I could and would competently testify thereto.

       2.        The two law firms representing Plaintiffs, EPLLC and Boies Schiller Flexner LLP

(collectively, “Counsel”) have collectively invested significant resources into investigating and

litigating this case. Counsel, now together, moves to be appointed co-lead counsel. David Boies

of Boies Schiller Flexner LLP has submitted a separate declaration.

       3.        Counsel have invested substantial resources and time in the investigation of the

factual and legal bases for claims against Defendant. Among other activities, these firms have:

   x   Investigated the means by which Defendant intentionally and/or negligently failed to

       terminate the Jeffrey Epstein relationship despite the clear red flags and the knowing
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       benefit conferred to Defendant as a consequence of its decision to keep banking with

       Epstein despite his operation of one of the largest sex trafficking ventures in modern

       history;

   x   Communicated with a significant number of victims and witnesses;

   x   Conducted substantial discovery, including the review of hundreds of thousands of

       documents, taking and defending depositions, and arguing several discovery and legal

       disputes with the Court;

   x   Prevailed on a contested motion for leave to amend the complaint and a motion to dismiss;

   x   Consulted with various financial crimes and human trafficking experts to assist in

       developing the case;

   x   Researched and analyzed potential legal claims against Defendant; and

   x   Evaluated potential class representatives.

   A. Relevant Firm Expertise

       4.      EPLLC’s experience in handling cases related to sexual abuse and human

trafficking is extensive. The firm’s litigators collectively have decades of experience in

successfully litigating on behalf of survivors who have been subjected to sexual abuse and human

trafficking, giving the firm the experience and knowledge necessary to provide the proposed

classes the best representation possible. Since 2008, EPLLC has represented more than 70 women

who were sexually abused by Jeffrey Epstein and his co-conspirators. The lawyers at EPLLC were

instrumental in establishing the Epstein Victims’ Compensation Fund where, through its

cooperation and work with the US Virgin Islands, the fund was able to award over $120 million

to 135 women that were abused by Jeffrey Epstein. In the last decade, EPLLC has recovered

hundreds of millions of dollars in confidential settlements on behalf of survivors of sexual abuse


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and other violent crimes. But unlike many firms, EPLLC also has extensive experience trying

complex cases related to sexual abuse to verdict. Due to the nature of the firm’s work with sexual

assault survivors, a majority of the high-profile cases are subject to confidentially. However, below

are several cases that were successfully litigated to verdict:

   x   Baca v. Island Girl, Ltd.: EPLLC represented a victim who was sexually assaulted by a

       coworker while working aboard a yacht. After litigating the case for over two years,

       EPLLC secured a $71 million verdict against the Defendant. At the time, the $71 million

       dollar verdict was the largest jury verdict in the United States obtained on behalf of a single

       survivor of sexual abuse.

   x   Priscilla Rainey v. Jayceon Terrell Taylor a/k/a The Game: EPLLC represented a victim

       who was sexually assaulted by the famous musician Jayceon Taylor a/k/a the Game. After

       a trial, a jury awarded a $7.1 million judgment. The case was appealed to the Seventh

       Circuit Court of Appeals where I successfully argued against the Defendant’s appeal to

       reduce the judgment.

   x   Jane Doe 101 v. Massage Envy Franchising LLC and Michael Ster: EPLLC represented a

       victim who was sexually battered by an employee at the Massage Envy franchise. Through

       its representation, EPLLC was able to bring light to the ongoing problem of sexual assaults

       and acts of sexual malfeasance at Massage Envy franchises. In doing so, the firm secured

       a $1.1 million jury verdict for the Plaintiff.

   x   Jane Doe v. Uber Technologies Inc.: EPLLC represented a victim who was sexually

       battered and raped by her uber driver. EPLLC settled the case for a confidential number

       that allowed Plaintiff to recover from the physical and mental injuries sustained as a result

       of the abuse and make policy changes as part of the settlement.


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        5.      Furthermore, EPLLC has experience in dealing with class action and complex

litigation cases. Ms. Henderson and I were class counsel and trial counsel in a class action trial

against Jupiter Golf Club, LLC, which does business as the Trump National Golf Club – Jupiter.

Hirsch, et al. v. Jupiter Golf Club, LLC, 2017 WL 448962 (S.D. Fla. Feb. 1, 2017). In Hirsch,

EPLLC avoided dismissal, obtained class certification, and defeated Defendant’s summary

judgment challenge. We deposed Donald Trump, Eric Trump, other witnesses, and tried the case

to verdict on behalf of plaintiffs and the class. The Court awarded full judgment of $5.7M for

plaintiffs and the class, the full relief that was requested at trial, plus prejudgment interest.

        6.      Through its creative, aggressive, and efficient approach to litigation, combined with

its proven track record of success, EPLLC has earned a world-class reputation in the sexual abuse

arena. Through its efforts in litigating cases against Jeffrey Epstein, EPLLC and its team have been

featured on Netflix Documentaries (Jeffrey Epstein: Filthy Rich; Ghislaine Maxwell: Filthy Rich),

have appeared on major news networks and programs (ABC, NBC, CBS, CBS’s 60 Minutes, Fox

News, Good Morning Britain), and have written and published a book on the topic (Relentless

Pursuit: My Fight for the Victims of Jeffrey Epstein).

        7.      EPLLC has the depth and breadth of experience, personnel, and financial resources

to litigate this case effectively, and it has a track record of committing those resources to cases of

sexual abuse and complex litigation and achieving exceptional results for its clients.

    B. Team Members

        8.      The principal EPLLC lawyers working on this matter include myself and partner,

Brittany Henderson. Ms. Henderson and I are supported by attorneys Diane Cuddihy, Dean Kaire,

and Catherine Davis as well as a full support staff led by seasoned paralegal Maria Kelljchian.




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       9.      Bradley Edwards: I have extensive experience in all aspects of cases involving

sexual abuse, human trafficking, and complex litigation and am a board-certified trial lawyer. I

specialize in representing crime victims across the country, strategically working to position clients

for the best possible outcome. Since 2008, I have represented Courtney Wild, a woman who was

sexually abused by Jeffrey Epstein beginning when she was 14 years old. Together, Ms. Wild and

I launched a legal crusade against the largest sex trafficking operation in United States history.

From 2008 to the present, I have represented more than 70 women against Epstein, his associates,

his enablers, and his Estate. I have also sued the United States Government for violating the rights

of Jeffrey Epstein’s victims pursuant to the Crime Victims’ Rights Act as a result of the secret plea

deal that the Government extended to Epstein. I have presented at a number of national conferences

and conventions on the legalities of my over-a-decade-long legal battle with Epstein. I received

one of the Top 50 verdicts in the United States in 2015, 2016, and 2018 and two of the top Florida

verdicts in 2011 and 2012. Throughout my career, I have obtained hundreds of millions of dollars

in verdicts and settlements for my clients and have argued and tried cases in District and State

courts around the country and before the U.S. Court of Appeals.

       10.     I was named Lawyer of the Year by the Daily Business Review in 2020 and Lawyer

of the Year in 2021 by the Florida Justice Association, both for my precedent-setting work on

behalf of the survivors of Jeffrey Epstein and my work in defining the rights of crime victims in

the United States. My professional peers have recognized me as a Top-Rated Lawyer through the

Martindale-Hubbell© Peer Review Rating system and honored me with an “AV” rating of “Very

High to Preeminent” as a testament to my level of professional excellence and ethics.

       11.     I am a fellow of the International Academy of Trial Lawyers, recognized as the

most prestigious organization of trial lawyers in the world. I have been certified as a lifetime



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member of the Million Dollar Advocates Forum and the Multi-Million Dollar Advocated Forum.

I have been profiled in the Best Lawyers in America and have been recognized by the National

Trial Lawyers and SuperLawyers. Since 2015, the National Association of Distinguished Counsel

has recognized me as one of the Nation’s Top One Percent. I serve on the board of the Broward

County Justice Association and am a member of the American Board of Trial Advocates; the

National Crime Victim Bar Association; the National Trial Lawyers Association; the Broward

County Trial Lawyers; and the American Bar Association. Before forming EPLLC, I was a partner

at the law firm of Farmer, Jaffe, Weissing, Edwards, Fistos, Lehrman, a law firm specializing in

class action and complex litigation work. I graduated from the University of Florida with my

Bachelor’s degree and Florida State University Law School.

       12.     Brittany Henderson: Brittany Henderson is a partner at EPLLC, and an

experienced trial lawyer recognized as a leader in the representation of crime victims and survivors

of sexual abuse in civil litigation. Ms. Henderson was recognized for obtaining one of the top 50

jury verdicts in the United States resulting from a high-profile sexual abuse case that was litigated

in federal court in Chicago, Illinois. Ms. Henderson was again recognized in 2018 after she

obtained a $71 million verdict in state court on behalf of a young woman who was sexually

assaulted while working as a crew member on a yacht.

       13.     Ms. Henderson played an integral role in helping to establish the Epstein Victims’

Compensation Fund, which was one of the largest and most successful claims fund programs in

United States history. She is professionally known for the dedicated work that she does with

survivors of sexual abuse and her ability to safely and successfully guide them through each stage

of the often-tumultuous litigation process. In addition to being a fearless advocate for crime

victims, Brittany has co-founded two progressive charities for sexual abuse survivors and is



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